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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MICHAEL DOPSON,                                     )
                                                    )
                Plaintiff,                          )
                                                    )            No. 19 C 5077
        v.                                          )
                                                    )            Judge Sara L. Ellis
JAMES P. CORCORAN, et al.,                          )
                                                    )
                Defendants.                         )

                                      OPINION AND ORDER

        Plaintiff Michael P. Dopson received psychiatric care at the Chicago-Read Mental Health

Center (“Chicago-Read”) after a court adjudicated him not guilty by reason of insanity (“NGRI”)

for armed robbery in June 2016. Dopson alleges that Erica Ware, a mental health technician

(“MHT”) at Chicago-Read, sexually abused him during his period of confinement. After his

release, Dopson sued Ware, Dr. James Corcoran, a senior administrator at Chicago-Read, Rex

Fields, a social worker at Chicago-Read, and Dr. Deborah Marsico, an administrator at Chicago-

Read, for excessive force and battery (Count I) and false imprisonment (Count II) under the

Fourth and Fourteenth Amendments. 1 The Court dismissed Dopson’s claims against all the

defendants except for his Fourteenth Amendment claims against Ware and Dr. Marsico. See

Doc. 25. Now, Dr. Marsico and Dopson have filed cross-motions for summary judgment. 2 Dr.


1
  The Office of the Illinois Attorney General (“OIAG”) initially represented Ware in this case. With leave
of the Court, on September 23, 2021, OIAG withdrew its representation of Ware after it “determined that
the alleged acts or omissions which g[a]ve rise to [Dopson’s] claim amount to allegations of intentional,
willful or wanton misconduct, and that the conduct alleged would not be within the scope of the defendant
Ware’s state employment.” Doc. 56 ¶ 7; see Doc. 61 (granting OIAG’s motion to withdraw). Ware has
not obtained private counsel, nor has she meaningfully participated in this case—for example, she did not
file a response to Dopson’s motion for summary judgment against her.
2
 Dopson filed an oversized brief to accompany his motion for summary judgment. Although he filed the
brief as an attachment with his motion for leave to file a motion in excess of fifteen pages, he never
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Marsico moves for summary judgment on the grounds that no reasonable jury could find her

liable for Dopson’s claim under a failure-to-intervene theory and that she is entitled to qualified

immunity. Dopson moves for summary judgment against Dr. Marsico and Ware, arguing that a

reasonable jury had no other choice but to find that Ware violated his constitutional rights by

engaging in an inappropriate sexual relationship, and similarly that Dr. Marsico failed to

intervene against Ware.

       The undisputed facts clearly show that Ware violated Dopson’s constitutional rights by

sexually abusing him during his time at Chicago-Read. Accordingly, the Court grants Dopson’s

motion for summary judgment against Ware. However, because no evidence exists that suggests

that Dr. Marsico knew about Ware’s abuse or that even raises an inference that an objective

observer in her shoes would have suspected that Ware was abusing Dopson, the Court denies

Dopson’s motion for summary judgment on his failure to protect claim and grants Dr. Marsico’s

motion for summary judgment against Dopson.

       The Court also considers Dr. Marsico’s motion for sanctions against Dopson’s attorney,

Mr. S. Randolph Kretchmar, pursuant to this Court’s inherent authority to punish Mr. Kretchmar

for filing exhibits containing cellphone data that included non-redacted personal identifying

information (“PII”) such as home addresses, birthdates, and social security numbers, as well as

nude or partially nude photographs of Ware and several other women. Dr. Marsico also

contends that Mr. Kretchmar contested Dr. Marsico’s emergency motion to seal the exhibits in

bad faith. Mr. Kretchmar does not dispute that sanctions are warranted, agreeing that his

unsealed filings were “in retrospect, improper, unethical and unprofessional.” Doc. 138 at 1.

Because the Court finds that Mr. Kretchmar acted in bad faith both with respect to his initial


noticed that motion for presentment before this Court. Dr. Marsico does not oppose his motion. The
Court now grants Dopson’s motion for leave to file a brief in excess of fifteen pages.
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public filing and in his post-filing conduct, the Court grants Dr. Marsico’s motion for sanctions,

and assesses a fine, awards Dr. Marsico attorneys’ fees incurred for her emergency motion to

seal, and imposes additional sanctions on Mr. Kretchmar.

                                           BACKGROUND

I.       Facts Relevant to the Cross-Motions for Summary Judgment 3

         Dopson was a patient at Chicago-Read between November 2016 and March 2019 after a

court found him NGRI on armed robbery charges in June 2016. Dopson frequently changed

housing units while committed at Chicago-Read. He initially resided on the A-South unit, which

also housed several deaf patients. In May 2017, Dopson moved to the C-North unit where he

stayed for about a year before transferring to the J-West unit, where he stayed until his discharge

in March 2019. Dopson’s father died in October 2017. The supervising court allowed Dopson

to attend the funeral while under his mother’s supervision. At some point when he was out on

parole, he had consensual sex with a woman. Dopson later requested to undergo tests for

sexually transmitted diseases.




3
  In her response to Dopson’s motion for summary judgment, Dr. Marsico moved to strike various parts
of Dopson’s introduction for lack of evidentiary support or because the factual assertions relied on
inadmissible evidence. See Doc. 131 at 3–7; see generally Doc. 131-1 (challenging specific factual
assertions in Dopson’s motion for summary judgment). The Court will not individually parse every
challenged fact; as always, it derives the facts it considers for this motion from the Joint Statement of
Undisputed Material Facts and additional facts that the parties submitted in their briefs that are supported
with citations to admissible evidence from the record. See Albrechtsen v. Bd. of Regents of Univ. of Wis.
Sys., 309 F.3d 433, 436 (7th Cir. 2002) (“Courts are entitled to assistance from counsel, and an invitation
to search without guidance is no more useful than a litigant's request to a district court at the summary
judgment stage to paw through the assembled discovery material. Judges are not like pigs, hunting for
truffles buried in the record.” (internal quotations omitted)); Tindle v. Pulte Home Corp., 607 F.3d 494,
496 (7th Cir. 2010) (non-moving party “must come forward with admissible evidence that demonstrates
there are genuine issues of material fact to survive [moving party’s] summary judgment motion”). The
Court, therefore, has included in this background section only those portions of the statements and
responses that are appropriately presented, supported, and relevant to resolution of the pending motion for
summary judgment.
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        All staff members at Chicago-Read received training on Office of the Inspector General

(“OIG”) Rule 50 (“Rule 50”). Rule 50 sets out circumstances in which staff members must

report abuse to OIG, including physical abuse, sexual abuse, mental abuse, and financial

exploitation. Rule 50 also requires staff to report their suspicions of abuse no later than four

hours after they learn information leading them to believe that sexual abuse is occurring. It also

provides consequences for failing to report abuse in a timely manner.

        Ware evidently ignored this training. Dopson and Ware began having sex shortly after

Dopson’s arrival to Chicago-Read. Ware and Dopson wanted to continue communicating while

Ware was outside the hospital and after Dopson’s eventual discharge, so sometime in January

2017 Dopson gave Ware money to purchase and smuggle a cellphone into Chicago-Read for his

personal use. 4 The rules prohibited Dopson from possessing such a phone. Dopson and Ware

would use the phone to “video chat, Facebook, . . . send pictures to each other back and forth,”

and continued to do so “for about a couple weeks before [Dopson] got caught with the phone.”

Doc. 125-2 at 21:17–20. Administrators at Chicago-Read learned about Dopson’s cellphone

after one of Dopson’s visitors accused him of possessing it and alleged that Ware smuggled it in

for him. After learning about the phone, Chicago-Read security confiscated it until Dopson’s

release.

        A few days after security took Dopson’s phone, he met with several Chicago-Read

employees, including Dr. Marsico. The group questioned Dopson about how he obtained the

phone, and one administrator asked whether Ware procured it for him. Dopson claimed that the




4
  The parties’ filings indicate that Ware purchased this phone for Dopson in January 2016, instead of January 2017.
However, Dopson’s complaint alleges—and the undisputed facts show—that Dopson did not arrive to Chicago-
Read until November 2016. As such, the Court assumes the parties have made and consistently implemented a typo
with respect to the year that Ware purchased the phone. Because neither Ware nor Dr. Marsico raise a statute of
limitations defense, this does not impact the Court’s analysis.

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female visitor who told them about the phone actually smuggled it in herself in a bag of food that

she brought for him and denied that Ware was involved. Dopson later testified that he lied to

protect Ware, and Dr. Marsico declared that she believed Dopson’s story that Ware did not bring

the phone into Chicago-Read for him. There is no evidence that any of the meeting participants

asked Dopson additional questions about Ware.

       During the meeting, Dopson refused to unlock the phone to allow Chicago-Read staff to

review its contents because he did not want to implicate Ware as the person who procured the

phone for him, and because it would have revealed that he and Ware were having inappropriate

sexual relations. Dopson’s social worker returned the phone to him the day of his release from

Chicago-Read, but told him to erase all data and photographs before he could leave the facility.

       Aside from the meeting where administrators questioned Dopson over the cellphone,

Dopson and Dr. Marsico infrequently interacted. Dr. Marsico was not Dopson’s primary treating

psychologist, and she did not have an office in the A-South unit where Dopson and Ware had

their sexual encounters. Dopson would see Dr. Marsico as part of a treatment group at the end of

each month, and he had occasional one-on-one conversations with her. One such personal

conversation happened shortly after Dopson’s father passed away. Dopson testified that Dr.

Marsico never asked him whether he and Ware were having sex.

       On April 17, 2019, a woman who self-identified as Dopson’s sister called Dr. Marsico

and told her that Dopson and Ware had sexual relations during Dopson’s commitment at

Chicago-Read. Dr. Marsico, pursuant to Illinois law and in compliance with her Rule 50

training, swiftly reported this information to the OIG. Dr. Marsico declares that she had no

knowledge or suspicion of any inappropriate relationship between Dopson and Ware until she

received this phone call. She declares that none of Chicago-Read’s staff or patients informed her



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of any such relationship, nor that she observed anything that would make her suspect sexual

abuse, especially because Dr. Marsico and Ware did not have a personal relationship. Dopson

testified that he never informed Dr. Marsico that he was having sex with Ware.

        After receiving Dr. Marsico’s report, OIG investigated the claim that Dopson and Ware

had a sexual relationship. However, OIG found it unsubstantiated because Dopson refused to

cooperate. Two years later, after Dopson provided his contraband phone to the Illinois State

Police (“ISP”) to have them forensically extract the erased data, OIG conducted another

investigation with Dopson’s cooperation. OIG and the ISP interviewed Dopson, Dopson’s

roommate (“Roommate”), Dr. Marsico, Dr. Corcoran, Fields, and Ware during its inquiry. 5

        During his ISP interview, Dopson claimed that he consented to a sexual relationship with

Ware after he noticed her looking at his “private area” while the two prepared for a retirement

party. Doc. 125-5 at 7. He said that he and Ware first kissed when they went to a back room to

find more decorations. Dopson then reported that Ware said that she could procure a phone so

that the pair could communicate while she was not working. Dopson said that Ware sent him

nude photographs, and that they had video communications using Facebook Messenger. Dopson

told the investigators that he lied to Chicago-Read staff during their meeting with him after

security confiscated his cellphone to protect Ware. Dopson said that his sexual relationship with


5
  The admissibility of the individual statements contained within the OIG report, Doc. 125-5, depend on
what purpose the statements serve. Although the document is admissible as a business record, see Fed. R.
Evid. 803(6); cf. Torry v. City of Chicago, 932 F.3d 579, 586 (7th Cir. 2019) (admitting police report
under business record exception), each individual witness’ statements are themselves hearsay unless they
fall under a hearsay exception or are non-hearsay. See Fed. R. Evid. 805 (hearsay within hearsay must
have separate exception to be admissible). Thus, Dr. Marsico can use Dopson’s statements as evidence
for the purpose of her motion for summary judgment, but she may not rely on her own statements to the
ISP for the same purpose. See Fed. R. Evid. 801(d)(2) (defining “An Opposing Party’s Statement” as
non-hearsay under certain circumstances). The reverse is also true: Dopson can rely on Dr. Marsico’s and
Ware’s individual statements to advance his motion for summary judgment and to defend against Dr.
Marsico’s, but he may not point to his own statements for support. Roommate’s statements (whether
found in the OIG report or as characterized in Dopson’s deposition) are inadmissible hearsay for all
parties. See Fed. R. Evid. 802 (excluding hearsay from evidence).
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Ware continued even after he lost his phone, and that the two would sneak into the laundry room

to have sex. Dopson further claimed that Roommate, who is deaf, walked in on him and Ware

having sex, and that Roommate reported this to Dr. Marsico. Dopson then said that Dr. Marsico

told Dopson that Roommate told her that Dopson and Ware were having sex. Dopson said that

he communicated with Roommate in sign language to tell him to not say anything about seeing

Ware and Dopson having sex. Dopson further claimed that Fields mistreated him when he

resided on C-North as retaliation for Dopson’s relationship with Ware.

       When OIG attempted to interview Dopson by telephone after his ISP interview, he said,

“You already know what happened, I am not a trick.” Id. at 8. Dopson then ended the call.

       Dr. Marsico told ISP and OIG that she did not know about any sexual relationship

between Ware and Dopson until Dopson’s sister called her, which she then immediately reported

to OIG. She also said that she did not know any of the details of this purported relationship until

Dopson named her in this lawsuit.

       Dr. Corcoran told OIG that he learned of Ware and Dopson’s relationship after Dr.

Marsico already reported Dopson’s sister’s tip to OIG. Dr. Corcoran, who resigned from

Chicago-Read in 2018, was no longer affiliated with the institution. Dr. Corcoran told OIG that

he had no knowledge of Ware and Dopson’s inappropriate activities during his time at the

hospital.

       Fields told OIG that he did not know about Ware and Dopson’s relationship until Dr.

Marsico reported it to OIG. Fields denied Dopson’s claims that Fields retaliated against Dopson

because of Dopson’s relationship with Ware.

       Ware admitted to attempting to have sex with Dopson during her interviews with ISP and

OIG. Ware claimed that it was initially Dopson’s idea to have sex, which they attempted to have



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in the laundry room. Ware and Dopson eventually had or attempted to have sex three or four

times. Ware denied to OIG that she purchased or smuggled in the phone for Dopson, and she

claimed to not know how he received or kept it. However, Ware admitted that she called

Dopson when she was not working and sent him sexually explicit pictures. Ware said that she

knew that her conduct was wrong and that she knew it violated Chicago-Read policy. Ware

reported that the relationship with Dopson ended in April 2017 due to Dopson’s sexual demands,

and that Dopson threatened to share the explicit pictures that Ware sent him if she refused to

continue having sexual relations.

       The OIG investigation concluded that evidentiary support existed for Dopson’s claim that

Ware had sex with him, but that no evidence supported a finding that Dr. Marsico neglected

Dopson.

II.    Facts Relevant to Dr. Marsico’s Motion for Sanctions

       Pursuant to the Court’s scheduling order, see Doc. 119, the parties filed their respective

motions for summary judgment on July 30, 2024. Along with his motion for summary judgment,

Mr. Kretchmar filed two exhibits. The second exhibit, which required four separate filings due

to its size, consisted of all the data the ISP recovered from Dopson’s contraband phone.

Unfortunately, Mr. Kretchmar filed this data without redacting PII such as home addresses,

birthdates, and social security numbers, Roommate’s name, and nude or partially nude

photographs of Ware and at least five other women who have no connection to this case.

       One day after Mr. Kretchmar made this ill-advised filing, Dr. Marsico filed an emergency

motion to seal Dopson’s brief and the cellphone data because she noticed that it contained

unredacted sensitive information. Mr. Kretchmar filed a brief opposing this motion. Although

Mr. Kretchmar admitted that he should have redacted Roommate’s name, he denied that a basis



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existed to seal the full brief and exhibits. Mr. Kretchmar contended that “all of the documents he

has filed as exhibits to his summary judgment motion are freely available from the Illinois State

Police by [Freedom of Information Act (“FOIA”)] request, or from the web site of the IDHS.”

Doc. 129 at 1. The emergency judge on duty granted Dr. Marsico’s motion to seal on August 1,

2024, meaning the public had access to the filing for approximately two days. See Doc. 130.

                                       LEGAL STANDARD

       Summary judgment obviates the need for a trial where “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). To determine whether a genuine dispute of material fact exists, the Court must pierce the

pleadings and assess the proof as presented in depositions, documents, answers to

interrogatories, admissions, stipulations, and affidavits or declarations that are part of the record.

Fed. R. Civ. P. 56(c)(1); A.V. Consultants, Inc. v. Barnes, 978 F.2d 996, 999 (7th Cir. 1992).

The party seeking summary judgment bears the initial burden of demonstrating that no genuine

dispute of material fact exists. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Bunn v. Fed.

Deposit Ins. Corp. for Valley Bank Ill., 908 F.3d 290, 295 (7th Cir. 2018). In response, the non-

moving party cannot rest on mere pleadings alone but must use the evidentiary tools listed above

to identify specific material facts that demonstrate a genuine dispute for trial. Fed. R. Civ. P.

56(c)(1); Celotex, 477 U.S. at 324; Sterk v. Redbox Automated Retail, LLC, 770 F.3d 618, 627

(7th Cir. 2014). The Court must construe all facts in the light most favorable to the non-moving

party and draw all reasonable inferences in that party’s favor. Wehrle v. Cincinnati Ins. Co., 719

F.3d 840, 842 (7th Cir. 2013). However, a bare contention by the non-moving party that an issue

of fact exists does not create a factual dispute, Bellaver v. Quanex Corp., 200 F.3d 485, 492 (7th

Cir. 2000), and the non-moving party is “only entitled to the benefit of inferences supported by



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admissible evidence, not those ‘supported by only speculation or conjecture,’” Grant v. Trs. of

Ind. Univ., 870 F.3d 562, 568 (7th Cir. 2017) (citation omitted). The same standard applies

when considering cross-motions for summary judgment. Int’l Bhd. of Elec. Workers, Local 176

v. Balmoral Racing Club, Inc., 293 F.3d 402, 404 (7th Cir. 2002). Therefore, when considering

Dr. Marsico’s motion for summary judgment, the Court views all evidence in the light most

favorable to Dopson, and when considering Dopson’s motion for summary judgment, the Court

views all evidence in the light most favorable to Ware and Dr. Marsico. Id.

                                           ANALYSIS

I.       Dopson’s Motion for Summary Judgment against Ware

         The Court begins with Dopson’s claim against Ware. He moves for summary judgment

against Ware on his claim that she violated his Fourteenth Amendment rights by sexually

abusing him. A state employee’s sexual abuse of an individual the State places in his or her care

violates the equal protection clause of the Fourteenth Amendment. Cf. T.E. v. Grindle, 599 F.3d

583, 588–89 (7th Cir. 2010) (“Plaintiffs have offered evidence that would let a jury easily

conclude that Sperlik, acting under color of state law, denied the girls equal protection by

molesting and abusing them.”). Ware confessed to ISP and OIG that she had or attempted to

have sex with Dopson multiple times while he was a patient at Chicago-Read. The State of

Illinois confined Dopson to Chicago-Read after a court adjudicated him NGRI of armed robbery,

and Illinois law makes it a felony for “an employee of a treatment and detention facility [to]

engage[] in sexual conduct . . . with a person who is in the custody of that treatment and

detention facility.” 720 Ill. Comp. Stat. 5/11-9.2(a)(2). Accordingly, no reasonable jury could

find in Ware’s favor on Dopson’s Fourteenth Amendment claim. The Court therefore grants

Dopson summary judgment against Ware.



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II.    Dopson’s and Dr. Marsico’s Cross-Motions for Summary Judgment

       Both Dopson and Dr. Marsico move for summary judgment on Dopson’s failure to

intervene claim. Dopson’s claim arises under the Fourteenth Amendment due to Dopson’s

NGRI verdict as opposed to the Eighth Amendment, which would apply if Dopson was guilty of

criminal charges. See Echols v. Johnson, 105 F.4th 973, 977 (7th Cir. 2024) (“[F]or persons not

convicted of a crime, including pretrial detainees and those like Echols who are in the civil

custody of a state, the right to protection comes from the Fourteenth Amendment’s Due Process

Clause.”).

       The applicable legal framework for a failure to intervene claim in the specific context of

a NGRI detainee that a hospital worker has sexually abused is unsettled. Dr. Marsico’s preferred

approach follows the Seventh Circuit’s logic in Pittman v. Madison County, 108 F.4th 561 (7th

Cir. 2024), a failure to protect case, which sets out an objective standard. For Dopson to win

summary judgment under this standard, he must provide evidence compelling a reasonable jury

to conclude that an objective observer in Dr. Marsico’s position would have appreciated the high

risk that Dopson and Ware were having sex (and, for Dr. Marsico’s part, she must show that no

reasonable jury could find that an objective observer would have appreciated such a risk). See

Pittman, 108 F.4th at 572 (holding that plaintiff must prove “that the defendants did not take

reasonable available measures to abate the risk of serious harm . . . even though reasonable

officers under the circumstances would have understood the high degree of risk involved, making

the consequences of the defendants’ conduct obvious”). The district court in Hurt v. Javed—

which Dr. Marsico acknowledges provides a superior factual analogy but contends that Pittman

supersedes—provides an alternative possible standard. The district court in that case hewed to a

“modified deliberate indifference” approach derived from the Seventh Circuit’s line of cases



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considering the abuse of children in foster care. Hurt v. Javed, No. 17 C 7909, 2024 WL

640849, at *3–7 (N.D. Ill. Feb. 15, 2024). Under this method, Dopson would have to “put forth

a case that . . . [Dr. Marsico] actually knew of or suspected the existence of [sexual abuse]”

against Dopson. Id. at *4 (quoting Lewis v. Anderson, 308 F.3d 768, 773 (7th Cir. 2002)).

       For his part, Dopson does not consistently advocate for any specific legal standard. As

Dr. Marsico notes in her reply brief, Dopson’s motion for summary judgment argues that the

modified deliberate indifference standard is appropriate, see Doc. 126-1 at 19–20 (arguing that

Dopson’s claim “could be satisfied if the Defendants knew of or suspected the specific risk (that

the Plaintiff was being abused), and consciously ignored it or failed to stop the abuse” (internal

quotation marks omitted) (citation omitted)), his response to Dr. Marsico’s motion accepts an

objective standard, see Doc. 132 at 8 (“Plaintiffs need not, since Pittman, offer proof of a

defendant’s subjective state of mind.”), and he also advocates for a strict liability test, claiming

that the “simple fact that [Dr.] Marisco [sic] was [at Chicago-Read], acting in an administrative

capacity . . . throughout the time when the relevant events in this matter . . . did factually occur,

evidences her failure to protect [Dopson] from possible mental, emotional or sexual abuse by []

Ware,” id. at 4. Because “to be liable under § 1983, the individual defendant must have caused

or participated in a constitutional deprivation,” the Court rejects Dopson’s passing attempt to

impose strict liability on Dr. Marsico without further analysis. Pepper v. Vill. of Oak Park, 430

F.3d 805, 810 (7th Cir. 2005) (citation omitted) (internal quotation marks omitted); see also

Childress v. Walker, 787 F.3d 433, 439–40 (7th Cir. 2015) (“[A]n individual must be personally

responsible for a constitutional deprivation in order to be liable, [but] personal responsibility is

not limited to those who participate in the offending act.”).




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       Rather, considering the reasoning of the Seventh Circuit in Pittman, on the one hand, and

the court in Javed, on the other, the Court believes that Pittman articulates a more appropriate

standard for this case. Pittman untangled a knot of cases that discussed the appropriate legal

standard for a pre-trial detainee’s failure-to-protect claim. The Seventh Circuit observed that a

discrepancy existed between cases that required “pretrial detainees . . . to prove defendants’

subjective awareness of the risk of harm” and others that relied on an objective test. Pittman,

108 F.4th at 569. The Pittman court resolved this tension by returning to the Supreme Court’s

decision in Kingsley v. Hendrickson, which applied an objective standard to determining the

reasonableness of an officer’s use of force in the Fourteenth Amendment context. 576 U.S. 389,

392 (2015). Reasoning that no justification existed for introducing a subjective element into a

Fourteenth Amendment failure to protect claim, the Pittman court described the plaintiff’s task

as proving “that the defendants did not take reasonable available measures to abate the risk of

serious harm to Pittman, even though reasonable officers under the circumstances would have

understood the high degree of risk involved, making the consequences of the defendants’ conduct

obvious.” Pittman, 108 F.4th at 572.

       In light of the Seventh Circuit’s decision, the Court cannot rely on Javed for the

substantive law controlling this case. Although the facts in Javed, which also dealt with a NGRI

patient’s sexual abuse at the hands of a hospital caretaker, largely mirror those of this case (there

is even significant overlap between the attorneys representing the respective plaintiffs and

defendants), the Seventh Circuit’s reasoning and ultimate holding in Pittman are what controls.

See Laudicina v. City of Crystal Lake, 328 F.R.D. 510, 515 (N.D. Ill. 2018) (“[T]his Court is

bound by Seventh Circuit precedent.”). Javed drew parallels between cases in the foster care

context and the NGRI detainee context due to the respective plaintiffs’ reduced mental



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capacities. In doing so, Javed relied on a three-decade old Seventh Circuit case, K.H. v. Morgan,

that held that foster children in state care had a right “not to be handed over by state officers to a

foster parent or other custodian, private or public, whom the state knows or suspects to be a child

abuser.” 914 F.2d 846, 852 (7th Cir. 1990). The Javed court also pointed to Lewis v. Anderson,

308 F.3d 768 (7th Cir. 2002), another foster care case, which reasoned that “the state’s

obligations to the plaintiffs arose from the ‘special relationship between the state and the

individual’” and the state-created nature of the danger the children faced, Javed, 2024 WL

640849, at *4 (quoting Lewis, 308 F.3d at 773), and reaffirmed that “the plaintiffs [only must]

‘put forth a case that the . . . defendants actually knew of or suspected the existence of child

abuse in the prospective adoptive family,’” id. (quoting Lewis, 308 F.3d at 773); see also id.

(collecting cases discussing how the “Seventh Circuit has continued to apply this modified

deliberate indifference standard in the foster care context”). Critically, none of the cases Javed

cited for support issued post-Kingsley. Thus, although Javed’s analogies are persuasive and the

district court rendered a well-reasoned decision, the Seventh Circuit’s reliance on Kingsley to

hold that an objective standard applies in the Fourteenth Amendment context indicates that this

Court should follow a similar path.

       To prevail under the objective standard, Dopson must show that Dr. Marsico did not act

to prevent Ware’s sexual abuse “even though [a] reasonable [official] under the circumstances

would have understood the high degree of risk involved, making the consequences of [Ware’s]

conduct obvious.” Pittman, 108 F.4th at 572. The question is whether Dr. Marsico’s actions

were objectively reasonable “from the perspective of a reasonable officer on the scene, including

what the officer knew at the time, not with the 20/20 vision of hindsight.” Kingsley 576 U.S. at

397. Both parties face a difficult task: a failure to intervene claim typically presents “an issue for



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the trier of fact unless, considering all the evidence, a reasonable jury could not possibly

conclude otherwise.” Lanigan v. Vill. of E. Hazel Crest, 110 F.3d 467, 478 (7th Cir. 1997).

       Dopson’s motion falls well short of this high bar. To summarize the admissible evidence

with respect to Dopson’s motion, Dr. Marsico was primarily a supervisory administrator at

Chicago-Read who worked there at the same time as Ware during the period that Ware was

abusing Dopson. Dr. Marsico knew that Dopson possessed a contraband cellphone, and she

participated in a meeting where an administrator—but not necessarily Dr. Marsico—asked

Dopson if Ware smuggled the phone into the hospital. Dr. Marsico believed Dopson’s lie that a

female visitor snuck the phone through security in a bag of food. After Dopson was discharged

from Chicago-Read, Dr. Marsico received a phone call from Dopson’s sister that Dopson and

Ware had a sexual relationship while he was a patient, which Dr. Marsico immediately reported

to OIG.

       Although he argues that the undisputed facts show that Dr. Marsico knew about the

abuse, his two lines of reasoning rely on either inadmissible evidence or impermissible

inferences to reach this conclusion. Dopson’s first claim is that Dr. Marsico must have known

about Ware’s abuse based on “tips from patients about [Dopson] and [] Ware.” Doc. 126-1 at

17. The only such “tip” that appears in the factual record is what Dopson says that Roommate

told Dopson that Roommate told Dr. Marsico. See Doc. 125-2 at 36:18–37:13; Doc. 125-5 at 7.

As the Court previously noted, Dopson cannot rely on this inadmissible statement to prevail on

summary judgment. See Fed. R. Evid. 802 (hearsay without an exception is not admissible).

       Dopson’s second line of argument fares no better. He posits that Dr. Marsico must have

known about Ware’s abuse “because [Dr. Marsico] asked or was in the meeting where other

administrators asked [Dopson] if Ware had brought him the contraband cell phone.” Doc. 126-1



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at 17. Although Dr. Marsico was indeed in that meeting, the inference Dopson asks the Court to

make is unreasonable, so he is not entitled to it for the purpose of his motion for summary

judgment. See Wehrle, 719 F.3d at 842 (noting that the court must construe all facts in the light

most favorable to the non-moving party and draw all reasonable inferences in the non-movant’s

favor).

          With these avenues closed to him and considering the supporting evidence in whole, the

Court cannot find that a reasonable jury must rule in Dopson’s favor on his failure to intervene

claim against Dr. Marsico. Accordingly, the Court denies Dopson’s motion for summary

judgment against Dr. Marsico.

          The Court now turns to Dr. Marsico’s motion. Her task is to point to evidence (or the

absence of evidence) such that no reasonable jury could conclude that an objective observer in

her shoes would have known about Dopson and Ware’s sexual relationship. Dr. Marsico argues

that the undisputed facts show that she did not have any knowledge or reason for suspicion of

Ware’s abusive conduct toward Dopson, and an objective observer would not have either. The

facts in support of Dr. Marsico’s motion are that she was not Dopson’s main psychologist, she

did not have an office in the same unit where Ware and Dopson interacted, Dopson never told

Dr. Marsico about Ware, she had no personal relationship with Ware, Dr. Marsico believed

Dopson’s story that a female visitor smuggled in the contraband cellphone, and Dr. Marsico

immediately reported the alleged sexual abuse to OIG after Dopson’s sister reported it to her.

Dr. Marsico paints a compelling picture of an administrator who was ignorant to a staff

member’s gross misconduct that both the staff member and the victim took lengths to conceal.

Cf. Thomas v. Dart, 39 F.4th 835, 843 (7th Cir. 2022) (affirming summary judgment against jail




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clerks when they had no reason to suspect that the plaintiff would suffer assault at the hands of

other inmates because of the plaintiff’s PTSD).

       Dopson attempts to challenge this narrative uniformly fall flat. In response to her

citations to the Joint Statement of Facts—the very ones that Dopson agreed were undisputed—

Dopson poses a series of rhetorical questions that invite the Court to draw inferences that do not

enjoy the support of any admissible evidence. For example, in response to Dr. Marsico’s point

that she was not Dopson’s main treating psychologist, Dopson asserts that this is a “self-serving

denial [that] is, in fact, evidence that [Dr.] Marsico admits she had adequate awareness of

abuse.” Doc. 132 at 6. Dopson does not explain how Dr. Marsico’s characterization of her once

monthly group sessions with and occasional individual treatment of Dopson equates to an

admission that she knew of Ware’s abuse, but it is certainly not a reasonable inference that a jury

could make given the state of the record, much less one that this Court will draw. Dopson

further argues that Dr. Marsico’s presence in Dopson’s interrogation about his contraband

cellphone “is direct and uncontroverted evidence that abuse of [Dopson] by [] Ware was

suspected” and that Dr. “Marisco [sic] may have been the administrative staff member who

personally originated the specific line of questioning about [] Ware—she does not bother to deny

it . . . [meaning] she at the very least noticed the suspicions of other members of the

administrative staff which prompted them to single out Ware as a suspect.” Id. at 7. But this

argument similarly rests on impermissible inferences. First, Dopson is not entitled to the

inference that Dr. Marsico herself asked the question based on his belief that she did not deny

asking the question. Dopson fails to point to other evidence that suggests that Dr. Marsico asked




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the question, such as his own testimony given that he was a full participant in the meeting. 6 The

second inference Dopson makes is that because someone in the meeting—whether it was Dr.

Marsico or another administrator—asked if Ware brought the cellphone into Chicago-Read,

every administrator who attended that meeting should have suspected that Ware was sexually

abusing Dopson and therefore must have reported her to OIG. But, again, Dopson fails to point

to any evidence that suggests the administrators (or an objective observer in their shoes) would

or should have reached that conclusion based on the information they had at the time. The

available evidence suggests that the administrator asked about Ware because Dopson’s visitor

claimed that Ware smuggled the cellphone into Chicago-Read on his behalf, not because they

knew or suspected that Ware was abusing Dopson in other respects. The rule Dopson asks this

Court to adopt would essentially require supervisors to launch investigations into whether an

employee is sexually abusing a charge under his or her care any time that employee is accused of

violating a rule with respect to a patient. Dopson does not point the Court to any cases in the

Seventh Circuit compelling the Court to hold Dr. Marsico to such a high bar. Without a legal or

factual basis for imposing this strict mandate on those who work at hospitals like Chicago-Read,

the Court will not do so.

        Dopson’s reliance on Rule 50 is likewise unavailing. He points to the rule to argue that

because Dr. Marsico received training on what constitutes abuse and how to report it that she

must have been aware that Ware was abusing Dopson, and subsequently failed to report her

knowledge or suspicions to OIG. But Dopson again starts with the premise that Dr. Marsico

knew about Ware’s abuse without pointing to evidence that suggests that she knew or should


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 Indeed, given that Dr. Marsico is one of two individual defendants remaining in this case, the Court
wonders why Dopson never deposed her or, if he did, why he did not introduce her deposition transcript
as an exhibit.


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have known about it. Moreover, the fact that Dr. Marsico complied with Rule 50 by

immediately reporting Dopson’s sister’s phone call makes it even less reasonable to infer that she

would have flaunted her training by ignoring signs of abuse if she observed them in the hospital

setting.

           Finally, Dopson’s argument that Dr. Marsico knew of or should have known of Ware’s

abuse because Dopson requested testing for sexually transmitted diseases also fails. Dopson said

that he had consensual sex with a woman while under his mother’s supervision to attend his

father’s funeral. Dopson then claims—without walking the Court through his reasoning—that

because Dr. Marsico knew that he was sexually active in this respect means that she should have

been suspicious that he was also sexually active while at Chicago-Read. This is, yet again, not a

reasonable inference a jury could make.

           Indeed, Dopson’s efforts to rebut Dr. Marsico’s version of events suffer from the

common, fatal defect that he failed to develop an evidentiary record sufficient to survive

summary judgment. The Court already noted the absence of a deposition transcript for Dr.

Marsico despite her importance to this case. Dopson’s lackadaisical approach to building

evidentiary support for his claims goes further. Dopson could have located Roommate to

procure his testimony about what he did or did not tell Dr. Marsico—he did not. Dopson could

have similarly deposed other staff at Chicago-Read whom Dopson claimed knew about Ware’s

abusive conduct toward him to raise the inference that their sexual interactions were common

knowledge throughout the hospital such that administrators would have been aware of the

abuse—he did not. Dopson could have subpoenaed testimony from Roberts and asked her why

she insisted that Dopson wipe the contraband cellphone of its data, and whether any

administrators (such as Dr. Marsico) ordered her to ensure that he did so—he did not. And, if



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Dopson diligently investigated this case, he could have interviewed the other administrators

present at his interrogation about his contraband cellphone to identify who asked if Ware

delivered it to him, and then in turn asked that person if he or she harbored suspicions about an

improper sexual relationship between Ware and Dopson (and, further, whether this administrator

then disclosed his or her suspicions to Dr. Marsico)—he did not. Dopson must now live with the

consequences of his litigation strategy and the resultant inferences that the record does—or does

not—support. See Modrowski v. Pigatto, 712 F.3d 1166, 1168 (7th Cir. 2013) (when moving

party at summary judgment argues lack of evidence as grounds for judgment, non-moving party

must “make a showing sufficient to establish the existence of an element essential to that party’s

case”); Gekas v. Vasiliades, 814 F.3d 890, 896 (7th Cir. 2016) (“‘[S]ummary judgment is the

‘put up or shut up’ moment in a lawsuit, when a party must show what evidence it has that would

convince a trier of fact to accept its version of events.’” (quoting Johnson v. Cambridge Indus.,

Inc., 325 F.3d 892, 901 (7th Cir. 2003))).

        In light of the admissible evidence in support of Dr. Marsico’s motion—and lack of

evidence supporting Dopson’s claim—the Court finds that no reasonable jury could conclude

that she, or an objective observer, had reason to know that Ware was sexually abusing Dopson

and that she then failed to act against the abuse. See Celotex, 477 U.S. at 324 (moving party can

rely on a lack of evidence to defeat non-moving party’s claim). Accordingly, the Court grants

Dr. Marsico summary judgment against Dopson’s complaint. 7

III.    Dr. Marsico’s Motion for Sanctions against Mr. Kretchmar

        The Court finally addresses Dr. Marsico’s motion for sanctions. “A district court may

impose sanctions under its inherent authority ‘where a party has willfully abused the judicial


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  Because the Court finds that no reasonable jury could find for Dopson on his claim against Dr. Marsico,
the Court does not address Dr. Marsico’s argument that she is entitled to qualified immunity.
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process or otherwise conducted litigation in bad faith.’” Fuery v. City of Chicago, 900 F.3d 450,

463 (7th Cir. 2018) (quoting Tucker v. Williams, 682 F.3d 654, 661–62 (7th Cir. 2012)). For

sanctions to be appropriate, a party must have acted in “bad faith, [in a way that was] designed to

obstruct the judicial process, or [in] a violation of a court order. Mere clumsy lawyering is not

enough.” Id. (citations omitted) (internal quotations omitted).

       The cellphone data that Mr. Kretchmar published in an unredacted, public filing

contained PII such as home addresses, birthdates, and social security numbers, Roommate’s

name, and nude or partially nude photographs of Ware and at least five other women who have

no connection to this case. None of this information was necessary for Dopson’s motion for

summary judgment. The only relevant evidence from the PII would be the nude photographs of

Ware (to prove that Dopson and Ware had an inappropriate sexual relationship), but they were

unnecessary because the parties agreed in their Joint Statement of Fact that an illicit sexual

relationship took place between the two. See Doc. 125 ¶ 15. The remaining information has no

relevance to this case. Indeed, the Court questions whether filing the cellphone data was at all

necessary, even if Mr. Kretchmar did so under seal, given that Mr. Kretchmar neglected to cite to

any of the literal hundreds of pages of the exhibit across any of his briefs, and that his only

reliance on the data was to note that it “included text conversations and nude photographs

exchanged between Ware and the Plaintiff in January, 2016, which can only be interpreted as

proof of an ongoing sexual ‘relationship.’” Doc. 126-1 at 15.

       Dr. Marsico’s emergency motion to seal Mr. Kretchmar’s filings presented him with an

opportunity to recognize the seriousness of his oversight and work with Dr. Marsico’s counsel to

remove the PII from public view. Mr. Kretchmar instead chose to oppose the emergency motion

on the mistaken basis that the public could access all of the information he uploaded to the



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docket by making a FOIA request to the ISP. As Dr. Marsico notes in her motion for sanctions,

“personal information contained within public records, the disclosure of which would constitute

a clearly unwarranted invasion of personal privacy,” such as nude photographs, is exempt from

FOIA requests, as is “private information” like social security numbers and home addresses.

Doc. 135 at 4 (quoting 5 Ill. Comp Stat. 140/7(c) and 5 Ill. Comp. Stat. 140/7(1)(b)).

        In his response to Dr. Marsico’s motion for sanctions, Mr. Kretchmar offers a meager

apology for what he rightly admits was unprofessional behavior while simultaneously justifying

his decision to file the unredacted cellphone data. See Doc. 138 at 1 (“Counsel agrees with [Dr.]

Marisco [sic] that his unsealed filing of the Exhibits to [Dopson’s] summary judgement motion

was in retrospect, improper, unethical and unprofessional.”); id. at 2 (“As for the nude or

seminude photographs of Defendant Ware and ‘other unidentified women,’ counsel might

believe that outrage (including from women) should direct toward what was done by the

Defendants to the Plaintiff in this matter, not against an effort to shine light on the reality that

women can be abusers of men in their custody.”). Mr. Kretchmar’s approach seriously

undermines his mea culpa given that he devotes such a significant portion of his filing to railing

against Defendants. For example, he complains “that the whole machinery of the State of

Illinois is dedicated to minimizing and misrepresenting what occurred,” in apparent reference to

Dopson’s mistreatment at Chicago-Read, while simultaneously downplaying his conduct as

“unprofessional, arguably egregious” but that “would never have been done unsealed, but for

[Mr. Kretchmar’s] effective lack of knowledge” that the cellphone data contained PII and nude

photos when he made the filing. Id. at 2. Although Mr. Kretchmar “now recognizes that the

unsealed filing of [the cellphone data] was offensive and unnecessary,” id. at 2–3, based on his

conduct—including the way Mr. Kretchmar responded to Dr. Marsico’s motion for sanctions—



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the Court does not believe that he fully appreciates the seriousness of his conduct and the

resultant harm that Mr. Kretchmar’s error could have caused. Mr. Kretchmar’s filing included

the full names, home addresses, social security numbers, and other personal information of at

least five current or former state employees, including Dr. Marsico and Ware. This put those

individuals at risk of identity theft—or worse—if the information fell into the wrong hands.

Moreover, the women whose nude or partially nude images appear in the cellphone data

experienced a violation of their privacy and now needlessly bear the risk that individuals whom

those women did not intend to have the pictures are able to view them. These are serious

breaches of privacy, and it frankly shocks the Court that Mr. Kretchmar “had either forgotten or

never noticed that the 677 pages revealed anyone’s” PII or nude photographs. Id. at 2. Mr.

Kretchmar at least acknowledges that his conduct merits sanctions, see id. at 3 (“Mr. Kretchmar

agrees to suffer whatever sanctions this Honorable Court believes are appropriate[.]”), but his

suggestion of “required continuing legal education courses” is the bare minimum this

wrongdoing deserves, id.

       In light of the above, the Court finds that Mr. Kretchmar conducted himself in bad faith

when he filed unredacted PII in an unsealed document. A serious sanction is warranted given the

scope of Mr. Kretchmar’s initial misjudgment and subsequent conduct. Pursuant to its inherent

authority to craft an appropriate sanction for a litigant’s conduct, see Mullen v. Butler, 91 F.4th

1243, 1253 (7th Cir. 2024) (acknowledging district court’s authority to “lev[y] modest fines

against both attorneys and litigants for unacceptable litigation conduct”), the Court orders as

follows:

               (1)     Mr. Kretchmar shall pay a fine of $9,000 to the Clerk,
                       which represents a fine of $1,500 per woman whose nude
                       or partially nude photographs appeared in Mr. Kretchmar’s
                       filing;

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           (2)   Mr. Kretchmar shall compensate Dr. Marsico’s counsel for
                 its attorneys’ fees for the time it expended with respect to
                 the emergency motion to seal;

           (3)   Mr. Kretchmar shall write letters to Ware and the other
                 women whose nude photographs appear in the cellphone
                 data explaining and apologizing for his conduct, and send
                 those letters by certified mail. Mr. Kretchmar shall submit
                 copies of these letters and mail receipts by email to this
                 Court’s courtroom deputy no later than March 31, 2025. If
                 Mr. Kretchmar cannot determine the identities of the
                 women who are not parties to this litigation or find their
                 addresses, he shall submit a letter to the Court by email to
                 this Court’s courtroom deputy explaining what efforts he
                 took to discover their identities and addresses, and also
                 submit the letters he would have otherwise sent the women
                 if he were able to locate them.

           (4)   No later than March 31, 2025, Mr. Kretchmar shall take a
                 continuing legal education course on the topic of ethics and
                 data privacy. Mr. Kretchmar shall submit confirmation to
                 the Court by email to this Court’s courtroom deputy that he
                 enrolled in and attended such a course.




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                                        CONCLUSION

       The Court grants Dopson’s motion for leave to file a brief in excess of fifteen pages

[126]. The Court grants in part and denies in part Dopson’s motion for summary judgment [126-

1]. The Court grants Dr. Marsico’s motion for summary judgment [123]. The Court enters

judgment for Dopson against Ware on his Fourteenth Amendment claim and enters judgment for

Dr. Marsico against Dopson on his Fourteenth Amendment claim. The Court grants Dr.

Marsico’s motion for sanctions [135] and imposes sanctions against Mr. Kretchmar as outlined

in this opinion. Mr. Kretchmar must satisfy each of the sanctions no later than March 31, 2025.




Dated: January 8, 2025                                      __                   _____
                                                            SARA L. ELLIS
                                                            United States District Judge




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